951 F.2d 1267
    NOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Karol L. NOWAKOWSKI, Plaintiff-Appellant,v.Jerome KOHLBERG, Jr., Henry R. Kravis, George R. Roberts,Donald J. Herdrich, Robert I. MacDonnell, Paul E.Raether, and KKR Associates, Defendants-Appellees.
    No. 91-1266.
    United States Court of Appeals, Federal Circuit.
    Dec. 13, 1991.
    
      Before MICHEL, CLEVENGER and ALARCON,* Circuit Judges.
      PER CURIAM.
    
    
      1
      AFFIRMED.  Fed.Cir.R. 36.
    
    
      
        *
         The Honorable Arthur L. Alarcon, Circuit Judge, United States Court of Appeals for the Ninth Circuit, sitting by designation
      
    
    